              Case 1:18-cv-01688-BAH Document 39 Filed 07/10/20 Page 1 of 6




                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


     CENTER FOR REPRODUCTIVE
     RIGHTS, et al.,

                    Plaintiffs,

                             v.                        Civil Action No.: 18-1688 (BAH)

     UNITED STATES DEPARTMENT OF
     HEALTH AND HUMAN SERVICES,

                    Defendant.


                   JOINT STATUS REPORT AND PROPOSED SCHEDULE

         Plaintiffs Center for Reproductive Rights and the National Women’s Law Center

(“Plaintiffs”) and Defendant U.S. Department of Health and Human Services (“Defendant” or

“HHS”) (collectively, the “Parties”) respectfully submit this Joint Status Report.

I.       Background

         1.       On July 19, 2018, Plaintiffs filed their Complaint, which alleges an action under

the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, et seq., as amended, to compel HHS

to disclose records in response to their jointly filed FOIA request. Plaintiffs’ FOIA request, dated

January 26, 2018, “seek[s] records relating to certain complaints filed with the HHS Office for

Civil Rights”; Plaintiffs filed an addendum to their FOIA request on March 5, 2018. See Compl.

¶¶ 9, 19, 21 (ECF No. 1).

         2.       Defendant filed its Answer on August 29, 2018. See Answer (ECF No. 10).

         3.       On September 12, 2018, the Parties filed a Joint Status Report informing the Court

of the status of Defendant’s review of potentially responsive documents. See Joint Status Report

(ECF No. 11). Since then, the Parties have filed periodic status reports updating the Court on the



DC: 7335018-2
            Case 1:18-cv-01688-BAH Document 39 Filed 07/10/20 Page 2 of 6




status of Defendant’s processing of Plaintiffs’ FOIA request. See Joint Status Report (ECF

No. 14); Joint Status Report (ECF No. 16); Joint Status Report (ECF No. 17); Joint Status Report

(ECF No. 19); Joint Status Report (ECF No. 20); Joint Status Report (ECF No. 21); Joint Status

Report (ECF No. 23); Joint Status Report (ECF No. 26); Joint Status Report (ECF No. 28); Joint

Status Report (ECF No. 29); Joint Status Report (ECF No. 30); Joint Status Report (ECF No. 31);

Joint Status Report (ECF No. 32); Joint Status Report (ECF No. 33); Joint Status Report (ECF No.

34); Joint Status Report (ECF No. 35); Joint Status Report (ECF No. 36); Joint Status Report (ECF

No. 37); Joint Status Report (ECF No. 38).

II.    Status of Searches

       4.       As of the date of this Report, Plaintiffs have received Defendant’s twenty-first

interim response, which Defendant issued on July 7, 2020.

       5.       HHS Office for Civil Rights is divided into four divisions:

                a. the Operations and Resources Division

                b. the Civil Rights Division

                c. the Health Information Privacy Division

                d. the Conscience and Religious Freedom Division

       6.       Operations and Resources Division. As the Parties previously explained, the

Operations and Resources Division completed its search for responsive records and located

approximately 130 pages responsive to Plaintiffs’ requests. See Joint Status Report ¶ 7 (ECF

No. 14). Further, the Parties agreed that Defendant would issue its response with respect to these

pages by November 5, 2018. See id. ¶ 13. On November 5, 2018, Defendant issued its first interim

response to Plaintiff’s request, which included its response with respect to these 130 pages.

Specifically, Defendant informed Plaintiffs that all 130 pages are exempt from release under FOIA



                                                 2
            Case 1:18-cv-01688-BAH Document 39 Filed 07/10/20 Page 3 of 6




Exemption 7(A) as they relate to an investigation that remains open. Prior to the production,

Defendant represented to Plaintiffs that these documents were responsive to a part of their request

seeking communications and interactions with outside groups, i.e., The Family Research Council,

The Heritage Foundation, Alliance Defending Freedom, Americans United for Life, and National

Right to Life. Plaintiffs and Defendant are in the process of conferring as to the basis for

Exemption 7(A)’s applicability to communications with third parties. In response to a request

from Plaintiffs, Defendant provided additional information regarding the exemption claim relating

to this set of documents on December 21, 2018, and February 13, 2019. Defendant further

provided information regarding these exemption claims in the June 18 Joint Status Report and in

a partial Vaughn index on July 17. (ECF No. 26.)

       7.       Civil Rights Division. The Parties have been conferring about the scope of the

request for records from the Civil Rights Division. This conferral process remains ongoing as the

Parties discuss the format of the production and the extent to which the proposed release satisfies

parts of Plaintiffs’ requests. Defendant produced a tracking spreadsheet from this Division

responsive to Plaintiffs’ requests in April 2019 and produced a second responsive spreadsheet in

May 2019. The Parties continue to confer regarding the format and production of any other

responsive documents from this Division.

       8.       Health Information Privacy Division. The Health Information Privacy Division

determined that it does not possess any responsive records.

       9.       Conscience and Religious Freedom Division. The Conscience and Religious

Freedom Division has identified 19,462 pages of potentially responsive records. Defendant has

been processing these records on a monthly basis, issuing monthly releases to Plaintiffs of

responsive, non-exempt records.



                                                3
         Case 1:18-cv-01688-BAH Document 39 Filed 07/10/20 Page 4 of 6




       10.     To date, Defendant has produced 10,501 pages of responsive records. 6,347 pages

have been withheld in full, 1,948 pages have been partially redacted, and 2,206 pages have been

produced without any redaction.

       11.     Defendant provided Plaintiffs on June 11, 2019 with a summary of the searches

performed. The parties have conferred and Defendant has agreed to prioritize records related to

closed complaints. On August 5, 2019, Plaintiffs requested the prioritization of certain records

tracking complaints based on alleged “conscience” or religious discrimination. Defendant has

responded that it will produce such records upon completion of production of closed complaints.

The Parties agree that Defendant will continue to process records on a rolling basis.

III.   Plaintiffs’ Motion for a Scheduling Order

       12.     On June 4, 2019, Plaintiffs filed a motion for a briefing schedule to set deadlines

for partial summary judgment motions concerning exemptions and redactions claimed by

Defendant to the date of that motion. See Motion for Briefing Schedule (ECF No. 24).

       13.     On June 10, 2019, the Court issued a minute order directing Defendant to address

the issues raised in Plaintiffs’ motion, which Defendant did in the Joint Status Report of June 18.

(ECF No 26.)

       14.     Also in the June 18 Joint Status Report, Plaintiffs requested an opportunity to

respond to Defendant’s responses, (Id.), which the Court granted on June 24. Plaintiffs filed their

responses on June 28. (ECF No. 27.) On July 8, the Court ordered Defendant to produce to

Plaintiffs a Vaughn Index with a representative sample of withheld documents by July 18, which

Defendant did provide on July 17. The Court also ordered the parties to provide a Joint Status

Report by August 7 and to state whether Plaintiffs continue to request resolution of Defendant’s

Exemption 7(A) claims through cross-motions for summary judgment.



                                                4
            Case 1:18-cv-01688-BAH Document 39 Filed 07/10/20 Page 5 of 6




       15.      At this time, based on the representative Vaughn index provided by Defendant,

Plaintiffs do not continue to seek resolution of the 7(A) Exemption issues through summary

judgment. Instead, the Parties will continue to confer regarding potential avenues to more

efficiently resolve this litigation, such as those outlined in Paragraph 11, above.

IV.    Proposed Next Steps

       16.      The Parties agree that Defendant will continue to process all potentially responsive

records on a rolling basis and will issue interim responses to Plaintiffs on the 5th day of each month

(or on the following business day if the 5th day of a given month lands on a weekend or a federal

holiday).

       17.      The Parties agree that the current schedule governing these proceedings remains

appropriate, whereby the Parties will file another joint status report by August 14, 2020.




                                                  5
         Case 1:18-cv-01688-BAH Document 39 Filed 07/10/20 Page 6 of 6




July 10, 2020                        Respectfully Submitted,

 /s/ William McAuliffe               MICHAEL R. SHERWIN
 WILLIAM MCAULIFFE,                  Acting United States Attorney
   D.C. Bar No. 1024136
 SUSAN CASSIDY,                      DANIEL F. VANHORN
   D.C. Bar No. 424518               D.C. Bar #924092
 Covington & Burling LLP             Chief, Civil Division
 One CityCenter
 850 Tenth Street, NW
                                     By: /s/ Brian J. Field
 Washington, DC 20001-4956
                                     BRIAN J. FIELD
 Tel: 202-662-5717
 wmcauliffe@cov.com                  D.C. BAR #985577
 scassidy@cov.com                    Assistant United States Attorney
                                     555 Fourth Street N.W.
 COUNSEL FOR PLAINTIFFS              Washington, D.C. 20530
                                     Tel.: (202) 252-2551
                                     E-mail: brian.field@usdoj.gov

                                     COUNSEL FOR DEFENDANT




                                       6
